Case 4:23-cv-03464 Document 2 Filed on 10/19/23 in TXSD Page 1 of 2
                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        October 19, 2023
                                                                       Nathan Ochsner, Clerk

                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

                                  § CIVIL ACTION NO
                                  § 4:23-cv-03464
                                  §
                                  §
      IN RE:                      § JUDGE CHARLES ESKRIDGE
      CHESAPEAKE                  §
      EXPLORATION                 §
      LLC                         §
                                  §

                                ORDER

          Pending or recently closed is an appeal from an order
      entered by Judge David Jones in the above-captioned
      matter. The docket reflects representation of a party by the
      law firm of Jackson Walker LLP in the underlying
      bankruptcy proceedings.
          Judge Jones recently resigned after allegations of
      judicial misconduct were brought to the attention of the
      Chief Judge of the Fifth Circuit. See Complaint No 05-24-
      90002 (5th Cir Oct 13, 2023) (complaint); see also General
      Order No 2023-20 (SDTX Oct 16, 2023) (removal of
      attorney Elizabeth Freeman from attorney admission fund
      committee).
          Any interested party may file a position paper
      addressing what effect, if any, the above has on the pending
      or recently closed appeal, including whether the challenged
      order should be remanded to the reassigned Bankruptcy
      Judge for reconsideration in due course.
          Any such position paper must be no more than five
      pages in length and filed by November 3, 2023.
Case 4:23-cv-03464 Document 2 Filed on 10/19/23 in TXSD Page 2 of 2




          SO ORDERED.
          Signed on October 19, 2023, at Houston, Texas.



                                      __________________________
                                      Hon. Charles Eskridge
                                      United States District Judge




                                  2
